978 F.2d 1255
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joe Leonard PRICE, Petitioner-Appellant,v.STATE of North Carolina, Respondent-Appellee.
    No. 92-6610.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 20, 1992Decided:  October 19, 1992
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  James C. Fox, Chief District Judge.  (CA-92-367-HC-F)
      Joe Leonard Price, Appellant Pro Se.
      E.D.N.C.
      Dismissed.
      Before MURNAGHAN, HAMILTON, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Joe Leonard Price appeals from a district court order which gave him twenty days to particularize his complaint.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This Court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. § 1292 (1988);  Fed.  R. Civ. P. 54(b);   Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         We also deny Price's motion for appointment of counsel.   See Whisenant v. Yuam, 739 F.2d 160 (4th Cir. 1984)
      
    
    